UNITED STATES DISTRICT COURT
SOUTHERN DISTR<ICT OF NEW YORK
                                   - - -x

UNITED STATES OF AMERICA
                                                PROTECTIVE ORDER
          - v.                                  Sl 12 Cr. 185 (LbP)

RYAN ACKROYD,
  a/k/a "kayla,"
  a/k/a "101,"
  e/k/a "lolspoon,"
JAKE DAVIS,                                         USDCSDNY
  a/k/e ~topiary,"                              DOCUMENT
  a/k/a ~atopiary"
DARREN MARTYN,                                  ELEcrnONICALLY FILED
  a/k/a "pwnsauce,"                             DOC#:
                                                       ~~-.....,.--+--
  a/k/a "raepsauce,"                            DATE FILED: s-j ~o / l?~
  a/k/a "networkkitten,"
DONNCHA O'CEARRBHAIL,
  a/k/a "palladium," and
JEREMY HAMMOND,
  a/k/a "Anarchaos,"
  a/k/a "sup_g,"
  a/k/a "burn,"
  a/k/a "yohoho,"
  alkl a "POW,"
  a/k/a "tylerknowsthis,"
  a/k/a "crediblethreat,"
      a
  a/kl "ghost"
  a/kja "anarchacker,"

                 Defendants.

                               -   -   -   -~




LORETTA A. PRESKA, U.S. District Judge:         <




          On the motion of the United States of America, by Preet

Bharara, United States Attorney, by Rosemary Nidiry and Thomas G.

A. Brown, Assistant United States bttorneys            (the "Government"),
and with the consent of defendant JEREMY HAMMOND, by his counsel.

Elizabeth Fink, Esq., and for good cause shown,

          IT IS HEREBY ORDERED:

          1.   Copies of certain discovery materials

(including, but not limited to, computer hard drives, telephones,

documents, and records) to be produced by the Government to the

defense pursuant to Rule 16 of the Federal Rules of Criminal

Procedure; Title 18, United States Code, Section 3500; Brady v.

Maryland; or United States v. Giglio, and that are not otherwise

publicly available,l contain personal identification and

financial information of specific individuals (including, inter

alia, names, dates of birth, Social Security numbers, a-mail

addresses, physical addresses, and bank, credit card, or other

financial account numbers) and are therefore deemed "Confidential

Information" and shall be so identified by the Government.

          2.   Confidential Information disclosed to the

defendant or to his counsel during the course of proceedings in

this action:

                    (a)   Shall be used by the defendant and his

counsel only for purposes of this action;

                    (b)   Shall be maintained in a safe and secure


    . 1 Materials that are "otherwLse publicly available" are
materials that were lawfully obtained and lawfully disclosed to
the public. Even materials that are "otherwise publicly
available" may be subject to separate legal restrictions on
dissemination that are not addressed by this Order.

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manner in the sole possession of defend"ant's counselor defense

counsel's staff; shall not be       possess~d   by the defendant, except

in the presence of the defendant's counselor paralegals on

defense counsel's staff; and shall not be disclosed in any form

by the defendant or his counsel except as set forth"in paragraph

2(c) below;

                        (c)   May be disclosed by the defendant or his

counsel only to the following persons (hereinafter         ~Designated


Persons") :

                              (i)   investigative, secretarial,

clerical, paralegal and student personnel employed full-time or

part-time by the defendant's counsel;

                              (ii) independent expert witnesses,

investigators, or advisors retained by the defendant's counsel in

connection with this action;

                              (iii) such other persons as hereafter

may be authorized by the Court upon motion by the defendant; and

                        (d)   Shall be returned to the Government

following the conclusion of this case, including any appeals, and

'any all copies made of said material shall be shredded, erased,

and/or destroyed.     The Government will maintain copies of all

Confidential Information and will reake them available to the

defendant's counsel following the conclusion of this case only

pursuant to a protective order of the Court.

              3.   The defendant and his counsel shall provide a copy


                                      3
of .this Order to Designated Persons to whom they disclose

Confidential Information pursuant to paragraph 2(c).             Designated

Persons shall be subject to the terms of this Order.

           4.   The provisions of this Order shall not be·

construed as preventing the disclosure of any information in any

motion, hearing, trial, Qr sentencing proceeding held in

connection with this action or to any District Judge or

Magistrate Judge of this Court for purposes of this action.

           5.   Modifications:       If defense counsel seeks to exempt

a particular document or portion of electronic material from

classification as   ~Confidential     Information        which has been so
                                                    ff




designated by the Government pursuant to       ~    1 of this Order,

defense counsel should first notify the Government in writing of

the document or portion of electronic material it seeks to

exclude from classification as uConfidential Information," as
                                 ,
well as the basis for the exclusion.        The Government will

promptly evaluate and respond to defense counsel's request in

writing.   If the parties are unable to reach agreement, defense

counsel may file a motion with the Court seeking to exclude the

particular document or portion of electronic material from

classification as "Confidential Information."             Absent an

agreement by the parties or' a determination by the Court that

designated material is not covered by the Order, all material

designated as "Confidential Information" pursuant to 1 1 this

Order is deemed to be covered by the Order.              Nothing in this


                                      4
Order shall prevent any party from seeking a modification of thiS

Order.

          6.   If current counsel is relieved as counsel,

the Confidential Information, and any copies thereof, provided to

defense counsel by the Government shall be returned to ,the

Government unless replacement counsel agrees to be subject to

this Order.

          7.   With respect to Confidential Information, any

filings with any court shall be governed by Rule 49.1 of the

Federal Rules of Criminal Procedure.


Dated:    New York, New York
          May ~, 2012

                               SO ORDERED:




                               UNITED STATES DISTRICT JUDGE


                               PREET BHARARA
                               United States Attorney
                               for the Southern District of New
                               York



                          BY:~
                           ~iry/Thomas                G. A. Brown
                               Assistant United States Attorneys




                                                      JEREMY



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